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10
11                          IN THE UNITED STATES DISTRICT COURT
12                        FOR THE WESTERN DISTRICT OF WASHINGTON
13                                      AT SEATTLE
14
15   THE DENTISTS INSURANCE COMPANY,
16                                                         NO. 2:20-CV-01076
17                       Plaintiff,
18                                                         STIPULATED PROTECTIVE ORDER
19           v.
20
21   JOSEPH Z. YOUSEFIAN, DMD, MS and
22   JOSEPH Z. YOUSEFIAN, D.M.D., M.S.,
23   INC., P.S., doing business as Yousefian
24   Orthodontics,
25
26                       Defendants.
27
28
29
30
31   PURPOSES AND LIMITATIONS
32          Discovery in this action is likely to involve production of confidential, proprietary, or
33
34   private information for which special protection may be warranted. Accordingly, the parties hereby
35
36   stipulate to and petition the court to enter the following Stipulated Protective Order. The parties
37
38   acknowledge that this agreement is consistent with LCR 26(c). It does not confer blanket
39   protection on all disclosures or responses to discovery, the protection it affords from public
40
41   disclosure and use extends only to the limited information or items that are entitled to confidential
42
43   treatment under the applicable legal principles, and it does not presumptively entitle parties to file
44
     confidential information under seal.
45


     STIPULATED PROTECTIVE ORDER - 1                                  GORDON       600 University Street
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 1   2.     “CONFIDENTIAL” MATERIAL
 2
 3          “Confidential” material shall include the following documents and tangible things
 4
     produced or otherwise exchanged: Defendants’ tax returns, bank records, and other documents
 5
 6   containing sensitive financial information.       “Confidential” material may also include any
 7
 8   information or documentation considered by Plaintiff to constitute trade secret or to be otherwise
 9
10   confidential and proprietary, including but not limited to its claim manuals, training materials,
11
     financial records, and other similar documents.
12
13   3.     SCOPE
14
15          The protections conferred by this agreement cover not only confidential material (as
16
17   defined above), but also (1) any information copied or extracted from confidential material; (2) all
18
     copies, excerpts, summaries, or compilations of confidential material; and (3) any testimony,
19
20   conversations, or presentations by parties or their counsel that might reveal confidential material.
21
22          However, the protections conferred by this agreement do not cover information that is in
23
24   the public domain or becomes part of the public domain through trial or otherwise.
25   4.     ACCESS TO AND USE OF CONFIDENTIAL MATERIAL
26
27          4.1     Basic Principles. A receiving party may use confidential material that is disclosed
28
29   or produced by another party or by a non-party in connection with this case only for prosecuting,
30
31   defending, or attempting to settle this litigation. Confidential material may be disclosed only to the
32   categories of persons and under the conditions described in this agreement. Confidential material
33
34   must be stored and maintained by a receiving party at a location and in a secure manner that ensures
35
36   that access is limited to the persons authorized under this agreement.
37
38          4.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered
39   by the court or permitted in writing by the designating party, a receiving party may disclose any
40
41   confidential material only to:
42
43                  (a)     the receiving party’s counsel of record in this action, as well as employees
44
     of counsel to whom it is reasonably necessary to disclose the information for this litigation;
45


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 1                   (b)     the officers, directors, and employees (including in house counsel) of the
 2
 3   receiving party to whom disclosure is reasonably necessary for this litigation, unless the parties
 4
     agree that a particular document or material produced is for Attorney’s Eyes Only and is so
 5
 6   designated;
 7
 8                   (c)     experts and consultants to whom disclosure is reasonably necessary for this
 9
10   litigation and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
11
                     (d)     the court, court personnel, and court reporters and their staff;
12
13                   (e)     copy or imaging services retained by counsel to assist in the duplication of
14
15   confidential material, provided that counsel for the party retaining the copy or imaging service
16
17   instructs the service not to disclose any confidential material to third parties and to immediately
18
     return all originals and copies of any confidential material;
19
20                   (f)     during their depositions, witnesses in the action to whom disclosure is
21
22   reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
23
24   (Exhibit A), unless otherwise agreed by the designating party or ordered by the court. Pages of
25   transcribed deposition testimony or exhibits to depositions that reveal confidential material must
26
27   be separately bound by the court reporter and may not be disclosed to anyone except as permitted
28
29   under this agreement;
30
31                   (g)     the author or recipient of a document containing the information or a
32   custodian or other person who otherwise possessed or knew the information.
33
34           4.3     Filing Confidential Material. Before filing confidential material or discussing or
35
36   referencing such material in court filings, the filing party shall confer with the designating party,
37
38   in accordance with Local Civil Rule 5(g)(3)(A), to determine whether the designating party will
39   remove the confidential designation, whether the document can be redacted, or whether a motion
40
41   to seal or stipulation and proposed order is warranted. During the meet and confer process, the
42
43   designating party must identify the basis for sealing the specific confidential information at issue,
44
     and the filing party shall include this basis in its motion to seal, along with any objection to sealing
45


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 1   the information at issue. Local Civil Rule 5(g) sets forth the procedures that must be followed and
 2
 3   the standards that will be applied when a party seeks permission from the court to file material
 4
     under seal. A party who seeks to maintain the confidentiality of its information must satisfy the
 5
 6   requirements of Local Civil Rule 5(g)(3)(B), even if it is not the party filing the motion to seal.
 7
 8   Failure to satisfy this requirement will result in the motion to seal being denied, in accordance with
 9
10   the strong presumption of public access to the Court’s files.
11
     5.     DESIGNATING PROTECTED MATERIAL
12
13          5.1     Exercise of Restraint and Care in Designating Material for Protection. Each party
14
15   or non-party that designates information or items for protection under this agreement must take
16
17   care to limit any such designation to specific material that qualifies under the appropriate
18
     standards. The designating party must designate for protection only those parts of material,
19
20   documents, items, or oral or written communications that qualify, so that other portions of the
21
22   material, documents, items, or communications for which protection is not warranted are not swept
23
24   unjustifiably within the ambit of this agreement.
25          Mass, indiscriminate, or routinized designations are prohibited. Designations that are
26
27   shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
28
29   unnecessarily encumber or delay the case development process or to impose unnecessary expenses
30
31   and burdens on other parties) expose the designating party to sanctions.
32          If it comes to a designating party’s attention that information or items that it designated for
33
34   protection do not qualify for protection, the designating party must promptly notify all other parties
35
36   that it is withdrawing the mistaken designation.
37
38          5.2     Manner and Timing of Designations. Except as otherwise provided in this
39   agreement (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or
40
41   ordered, disclosure or discovery material that qualifies for protection under this agreement must
42
43   be clearly so designated before or when the material is disclosed or produced.
44
45


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 1                   (a)     Information in documentary form: (e.g., paper or electronic documents and
 2
 3   deposition exhibits, but excluding transcripts of depositions or other pretrial or trial proceedings),
 4
     the designating party must affix the word “CONFIDENTIAL” to each page that contains
 5
 6   confidential material. If only a portion or portions of the material on a page qualifies for protection,
 7
 8   the producing party also must clearly identify the protected portion(s) (e.g., by making appropriate
 9
10   markings in the margins).
11
                     (b)     Testimony given in deposition or in other pretrial proceedings: the parties
12
13   and any participating non-parties must identify on the record, during the deposition or other pretrial
14
15   proceeding, all protected testimony, without prejudice to their right to so designate other testimony
16
17   after reviewing the transcript. Any party or non-party may, within fifteen days after receiving the
18
     transcript of the deposition or other pretrial proceeding, designate portions of the transcript, or
19
20   exhibits thereto, as confidential. If a party or non-party desires to protect confidential information
21
22   at trial, the issue should be addressed during the pre-trial conference.
23
24                   (c)     Other tangible items: the producing party must affix in a prominent place
25   on the exterior of the container or containers in which the information or item is stored the word
26
27   “CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection,
28
29   the producing party, to the extent practicable, shall identify the protected portion(s).
30
31           5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
32   designate qualified information or items does not, standing alone, waive the designating party’s
33
34   right to secure protection under this agreement for such material. Upon timely correction of a
35
36   designation, the receiving party must make reasonable efforts to ensure that the material is treated
37
38   in accordance with the provisions of this agreement.
39
40
41
42
43   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
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45


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 1           6.1    Timing of Challenges. Any party or non-party may challenge a designation of
 2
 3   confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality
 4
     designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
 5
 6   burdens, or a significant disruption or delay of the litigation, a party does not waive its right to
 7
 8   challenge a confidentiality designation by electing not to mount a challenge promptly after the
 9
10   original designation is disclosed.
11
             6.2    Meet and Confer. The parties must make every attempt to resolve any dispute
12
13   regarding confidential designations without court involvement. Any motion regarding confidential
14
15   designations or for a protective order must include a certification, in the motion or in a declaration
16
17   or affidavit, that the movant has engaged in a good faith meet and confer conference with other
18
     affected parties in an effort to resolve the dispute without court action. The certification must list
19
20   the date, manner, and participants to the conference. A good faith effort to confer requires a face-
21
22   to-face meeting or a telephone conference.
23
24           6.3    Judicial Intervention. If the parties cannot resolve a challenge without court
25   intervention, the designating party may file and serve a motion to retain confidentiality under Local
26
27   Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). The burden of
28
29   persuasion in any such motion shall be on the designating party. Frivolous challenges, and those
30
31   made for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on
32   other parties) may expose the challenging party to sanctions. All parties shall continue to maintain
33
34   the material in question as confidential until the court rules on the challenge.
35
36   7.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
37
38   LITIGATION
39           If a party is served with a subpoena or a court order issued in other litigation that compels
40
41   disclosure of any information or items designated in this action as “CONFIDENTIAL,” that party
42
43   must:
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 1                  (a)     promptly notify the designating party in writing and include a copy of the
 2
 3   subpoena or court order;
 4
                    (b)     promptly notify in writing the party who caused the subpoena or order to
 5
 6   issue in the other litigation that some or all of the material covered by the subpoena or order is
 7
 8   subject to this agreement. Such notification shall include a copy of this agreement; and
 9
10                  (c)     cooperate with respect to all reasonable procedures sought to be pursued by
11
     the designating party whose confidential material may be affected.
12
13   8.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
14
15          If a receiving party learns that, by inadvertence or otherwise, it has disclosed confidential
16
17   material to any person or in any circumstance not authorized under this agreement, the receiving
18
     party must immediately (a) notify in writing the designating party of the unauthorized disclosures,
19
20   (b) use its best efforts to retrieve all unauthorized copies of the protected material, (c) inform the
21
22   person or persons to whom unauthorized disclosures were made of all the terms of this agreement,
23
24   and (d) request that such person or persons execute the “Acknowledgment and Agreement to Be
25   Bound” that is attached hereto as Exhibit A.
26
27   9.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
28
29   MATERIAL
30
31          When a producing party gives notice to receiving parties that certain inadvertently
32   produced material is subject to a claim of privilege or other protection, the obligations of the
33
34   receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision
35
36   is not intended to modify whatever procedure may be established in an e-discovery order or
37
     agreement that provides for production without prior privilege review. The parties agree to the
38
39   entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.
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 1   10.    NON TERMINATION AND RETURN OF DOCUMENTS
 2
 3          Within 60 days after the termination of this action, including all appeals, each receiving
 4
     party must return all confidential material to the producing party, including all copies, extracts and
 5
 6   summaries thereof. Alternatively, the parties may agree upon appropriate methods of destruction.
 7
 8          Notwithstanding this provision, counsel are entitled to retain one archival copy of all
 9
10   documents filed with the court, trial, deposition, and hearing transcripts, correspondence,
11
     deposition and trial exhibits, expert reports, attorney work product, and consultant and expert work
12
13   product, even if such materials contain confidential material.
14
15          The confidentiality obligations imposed by this agreement shall remain in effect until a
16
17   designating party agrees otherwise in writing or a court orders otherwise.
18
19
20                   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
21
22   DATED: 11/17/21
23
24
25
26   /s/ Eric J. Neal
     Eric J. Neal, WSBA #31863
27   LETHER LAW GROUP
28   1848 Westlake Avenue N., Suite 100
29   Seattle, WA 98109
30   206-467-5444
31   eneal@letherlaw.com
32   Attorney for Plaintiff
33
34   /s/ Michael P. Brown____________
35   Michael P. Brown, WSBA #45618
36   GORDON TILDEN THOMAS & CORDELL LLP
37   600 University Street, Suite 2915
38   Seattle, Washington 98101
39   206.467.6477
40   mbrown@gordontilden.com
41   Counsel for Defendants
42
43
44
45


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 1          PURSUANT TO STIPULATION, IT IS SO ORDERED
 2
 3          IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of any
 4
 5   documents in this proceeding shall not, for the purposes of this proceeding or any other federal or
 6   state proceeding, constitute a waiver by the producing party of any privilege applicable to those
 7
 8   documents, including the attorney-client privilege, attorney work-product protection, or any other
 9
10   privilege or protection recognized by law.
11
12
13
14          Dated this 18th day of November, 2021.
15
16
                                                          Robert S, Lasnik
17                                                        United States District Court Judge
18
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20
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     STIPULATED PROTECTIVE ORDER - 9                                GORDON       600 University Street
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 1                                              EXHIBIT A
 2
 3                   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 4
             I,   ____________________________________           [print   or   type   full   name],      of
 5
 6   ____________________________________ [print or type full address], declare under penalty of
 7
 8   perjury that I have read in its entirety and understand the Stipulated Protective Order that was
 9
10   issued by the United States District Court for the Western District of Washington on [date] in the
11
     case of ________________ [insert formal name of the case and the number and initials
12
13   assigned to it by the court]. I agree to comply with and to be bound by all the terms of this
14
15   Stipulated Protective Order and I understand and acknowledge that failure to so comply could
16
17   expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I will
18
     not disclose in any manner any information or item that is subject to this Stipulated Protective
19
20   Order to any person or entity except in strict compliance with the provisions of this Order.
21
22           I further agree to submit to the jurisdiction of the United States District Court for the
23
24   Western District of Washington for the purpose of enforcing the terms of this Stipulated Protective
25   Order, even if such enforcement proceedings occur after termination of this action.
26
27   Date:
28
29   City and State where sworn and signed:
30
31   Printed name:
32   Signature:
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     STIPULATED PROTECTIVE ORDER - 10                               GORDON       600 University Street
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